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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                             §
                                                   §
FREE SPEECH SYSTEMS, LLC                           §      CASE NO: 22-60043
                                                   §           Chapter 11
                                                   §
DEBTOR.                                            §


     PUBLIC STORAGE’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
              AGAINST PROPERTY AND REQUEST FOR HEARING

         YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS
         PLEADING. YOU SHOULD READ THIS PLEADING CAREFULLY AND
         DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS
         BANKRUPTCY CASE. IF YOU OPPOSE THE RELIEF SOUGHT BY THIS
         PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING
         THE FACTUAL AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

         NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
         WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
         STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
         FILING THIS PLEADING WITHIN FOURTEEN (14) DAYS FROM THE
         DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE
         UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR
         FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
         AND FILED, THIS PLEADING SHALL BE DEEMED TO BE
         UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
         THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN
         A TIMELY MANNER, THE COURT WILL THEREAFTER SET A
         HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR
         AT THE HEARING, YOUR OBJECTION MAY BE STRICKEN. THE
         COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
         MATTER.

                                    Summary of Argument

         Public Storage (“Public Storage” or “Movant”), a party in interest, moves to lift the

automatic stay pursuant to 11 U.S.C. §362(d) and Fed. R. Bankr. P. 4001. Free Speech Systems,

LLC (“Debtor”), leased two storage units from Movant in accordance with the Rental Agreements




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(the “Agreements”). The Agreements attached hereto as Exhibit A. Public Storage seeks this

Court’s authorization to immediately exercise its state law and in rem rights to foreclose on the

personal property, if any, contained inside the units located at 2301 E Ben White Blvd, Austin,

Texas 78741, space 1074 and space 1035 (the “Units”) and auction the contents of the Units. The

Debtor is listed as the “customer” on the Agreements between Debtor and Public Storage. The

Debtor has failed to make payments resulting in a default Section 3(d) of the Agreements which

gives Public Storage the right to terminate the Agreements.         See Sec. 3(d) of Exhibit A.

Additionally, the Debtor has seemingly abandoned the Units, also considered a default pursuant to

Section 12 of the Agreements, which gives Public Storage the right to terminate the Agreements.

See Sec. 12 of Exhibit A.

         Public Storage seeks relief from the automatic stay imposed by 11 U.S.C. §362(a) and

requests that this Court enter an order immediately terminating the stay to permit Public Storage

to exercise its in rem remedies against Debtor by foreclosing on the Units, and to allow Public

Storage the opportunity to auction the contents of the Units at a private sale pursuant to Section

3(d) of the Agreements.

         As of January 1, 2024 (the most recent month of unpaid rent pursuant to the Agreements),

Debtor owes Public Storage $16,815.00 in rent and fees for the Units rented from Public Storage.

Rent for (both) Units, pursuant to the Agreements, is $219 per month for space 1074 and $352 per

month for space 1035. Since the filing of the Petition, Public Storage has not received rent, and

because of the automatic stay, has been unable to rent the Units to another customer. The hardship

to Public Storage by allowing the automatic stay to remain in place considerably outweighs the

hardship to the Debtor if the stay is lifted.




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         Stay relief should be granted because (1) Public Storage is a party in interest with an unpaid

debt, which continues to increase, and the Debtor has not, and indeed cannot, adequately protect

Public Storage’s interest; and (2) the Debtor does not have equity in the Units and the Units are

not necessary to an effective reorganization.

                                             Jurisdiction

         This Court has jurisdiction in accordance with 28 U.S.C. §§ 1334, 1408 and 11 U.S.C.

§ 362(d). Venue is proper pursuant to 28 U.S.C. § 1408.

                                       Statement of the Facts

         Public Storage is the owner of the storage units located at 2301 E Ben White Blvd, Austin,

Texas 78741, space 1074 and space 1035.

         On October 31, 2014 (space 1035) and February 27, 2015 (space 1074), the Agreements

between Public Storage and Debtor commenced. Pursuant to the Agreements, Debtor agreed that

Public Storage would lease the Units to the Debtor for a monthly rental payment of $219 per month

for space 1074 and $352 per month for space 1035. The Agreements continued on a month-to-

month basis unless terminated by either Public Storage or Debtor. Debtor made intermittent

payments, frequently falling behind on the account.

         On December 2, 2022, the Debtor filed a voluntary petition for bankruptcy pursuant to

Chapter 11. In the Debtor’s petition, the Agreements are not listed as contracts to be assumed, or

otherwise referenced in Debtor’s petition.

         As of June 1, 2023, Debtor’s balance due to Public Storage was $11,038.00 pursuant to the

Customer Transaction Journals for each space. The Customer Transaction Journals attached

hereto as Exhibit B. The Debtor’s account continues to accrue monthly rental charges and

additional fees, for which Public Storage has received no payments since 2023. Further, the Debtor




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has not surrendered and/or vacated the Units. The Debtor’s failure to pay rent to Public Storage

constitutes a default pursuant to Section 12 of the Agreements which gives Public Storage the right

to terminate the Agreements. See Sec. 12 of Exhibit A. Additionally, the Debtor has seemingly

abandoned the Units also considered a default against Section 3(d) of the Agreements which gives

Public Storage the right to terminate the Agreements. See Sec. 3(d) of Exhibit A.

         On January 30, 2024, Counsel for Public Storage attempted to confer Debtor’s counsel to

discuss lifting the automatic stay and no agreement has been made at this time. At this time, Debtor

has not assigned the Agreements, the Agreements have not been assumed and Debtor has made no

efforts to make payments.

                                              Argument

         Public Storage moves to lift the automatic stay pursuant to 11 U.S.C. § 362(d)(1) because

Debtor has failed to pay rent due in accordance with the Agreements. Public Storage is a party in

interest pursuant to the terms of the Agreements. The Debtor’s failure to make payments

demonstrates that Public Storage’s security interest in the Units is not being adequately protected.

Additionally, Public Storage is prohibited from renting to another customer, or taking possession

of the contents of the Units by virtue of the automatic stay. Allowing Public Storage to exercise

its rights available pursuant to the Agreements will not result in prejudice to the Debtor because it

will have the opportunity to retrieve any property Debtor wishes to remain in possession of at a

private sale, or before any sale by agreement between Public Storage and Debtor.

         Furthermore, keeping the stay in place will result in significant prejudice to Public Storage.

In addition to the rent and late fees Debtor owes Public Storage, Public Storage is suffering further

economic harm because it is unable to rent the unit to another renter who can afford the monthly

payments. If this Court does not agree to lift the stay, there will be no other remedy available for




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Public Storage to recover the Units, remove the Debtor’s personal property from the Units (if any),

and rent the Units to a new customer.

         Therefore, in accordance with 11 U.S.C. § 362(d)(1), this Court should terminate the stay

and allow Public Storage to pursue remedies in accordance with applicable non-bankruptcy law

with respect to the Agreements and the Units.

                                      Conclusion and Prayer

         For the reasons stated above, Public Storage has demonstrated that cause exists for lifting

the automatic stay as well as the prejudice Public Storage is suffering during the time the Debtor

continues to occupy the Units without paying. As a result, the Court should lift the automatic stay

for the limited purpose of allowing Public Storage to exercise its rights pursuant to state law, and

the Agreements, which will not affect any other aspect of this bankruptcy case.

         Public Storage requests a hearing for this motion be heard and ruled on by this Court on

February 20, 2024 at 10:00 a.m.

         Accordingly, Movant respectfully requests that the Court enter an order in accordance with

11 U.S.C. § 362(d), lifting, terminating, or modifying the automatic stay, as it relates to Public

Storage’s ability to enforce its state law based rights, to regain possession of the Units, and that

the 14 days stay pursuant to Rule 4001 of the Federal Rules of Bankruptcy Procedure be waived.




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                                       Respectfully submitted,


                                       LEWIS BRISBOIS BISGAARD & SMITH LLP

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                              CERTIFICATE OF SERVICE

       I certify that the foregoing has been served in accordance with LBR 9013(f) and Fed. R.
Bankr. P. 7004(b) on January 30, 2024 to all parties who have filed a notice of appearance or
request for notice in the case and to the following:

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Any other parties that the Court may designate


                                                  /s/ Bennett G. Fisher
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